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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF ALABAMA
                               NORTHERN DIVISION


UNITED STATES OF AMERICA                         )
                                                 )
                                                 )
V.                                               ) CASE NO.: 2:21-CR-455-MHT-SRW
                                                 )
                                                 )
AMBER NICOLE EASTERLING, ET AL.                  )
                                                 )
       Defendant.                                )

                                NOTICE OF APPEARANCE

       COMES NOW Richard K. Keith and hereby gives his Notice of Appearance as

court-appointed counsel representing AMBER NICOLE EASTERLING in the above-

styled cause.

       Respectfully submitted this 1 st day of November, 2021.

                                                 /s/ Richard K. Keith
                                                 RICHARD K. KEITH (KEI003)
                                                 Attorney for Defendant
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                                CERTIFICATE OF SERVICE

       I hereby certify that on November 1, 2021, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF system, which will send notification of such
filing to the proper parties.



                                                 /s/ Richard K. Keith
                                                 OF COUNSEL
